                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 JANE DOE 1–4,
                                                         Civil Action File No.
               Plaintiffs,
                                                         1:21-cv-04278-WMR
                   v.
 RED ROOF INNS, INC., et al.

               Defendants.

    JOINT MOTION TO DISMISS THE REMAINING CLAIMS AGAINST
          DEFENDANT VARAHI HOTEL, LLC WITH PREJUDICE
   Plaintiffs Jane Doe 1 and Jane Doe 2 1 and Defendant Varahi Hotel, LLC have

reached an agreement to resolve all of these Plaintiffs’ claims against Varahi with

prejudice. Accordingly, Jane Doe 1, Jane Doe 2, and Varahi request that the Court
enter the attached Order dismissing those claims with prejudice. 2

   Respectfully submitted this 29th day of August 2023.


                              Signatures on following page

  1 Plaintiffs Jane Doe 3 and Jane Doe 4 are not asserting claims against Varahi in this

matter. Thus, the dismissal of the claims of Jane Doe 1 and Jane Doe 2 against Varahi will
effectuate a complete dismissal of all remaining claims against that Defendant and will
remove it from this suit.
   2 The parties seek a Court Order effectuating the dismissal of Varahi from this suit

because, as the Court knows and the 11th Circuit has recently reaffirmed, the parties may
not effectuate a final dismissal of only the claims against Varahi on their own by use of
Rule 41. See In re Esteva, 60 F.4th 664, 677 (11th Cir. 2023) (“Rule 41(a) does not permit
plaintiffs to pick and choose, dismissing only particular claims within an action.”); Rosell
v. VMSB, Ltd. Liab. Co., 67 F.4th 1141, 1144 (11th Cir. 2023) (“[A] Rule 41(a)(2) dismissal
can only be for an entire action, and not an individual claim.”). Therefore, Movants
respectfully request that the Court enter the attached Order which will dismiss of
remaining claims against Varahi with prejudice via Rule 21.
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                            CERTIFICATE OF SERVICE
   I hereby certify that I have this day electronically filed the foregoing Joint

Motion to Dismiss the Remaining Claims Against Defendant Varahi Hotel, LLC

With Prejudice with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification and provide access to an electronic copy of

the filing to all counsel of record.

      This 29th day of August 2023.


                                            /s/ C. Shane Keith
                                            C. Shane Keith
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